

People v Vernon (2023 NY Slip Op 50192(U))



[*1]


People v Vernon (Jason)


2023 NY Slip Op 50192(U)


Decided on March 15, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 15, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., Michael, James, JJ.



570651/16

The People of the State of New York, Respondent, 
againstJason Vernon, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Heidi C. Cesare, J.), rendered July 21, 2016, convicting him, upon his plea of guilty, of unlicensed general vending, and imposing sentence.




Per Curiam.
Judgment of conviction (Heidi C. Cesare, J.), rendered July 21, 2016, affirmed.
Since defendant waived prosecution by information, the accusatory instrument is assessed under the reasonable cause standard applicable to a misdemeanor complaint (see People v Dumay, 23 NY3d 518, 522 [2014]). So viewed, the instrument was jurisdictionally valid because it described facts of an evidentiary nature establishing reasonable cause to believe that defendant was guilty of unlicensed general vending (see Administrative Code of City of NY § 20-453). The "public space" element of the offense (Administrative Code § 20—452[d]) was satisfied by sworn police allegations that defendant was selling DVDs while "standing in front of a blanket" upon which the DVDs were arranged "at 4 South Street ... a public sidewalk in the South Street Ferry" (see People v Abdurraheem, 94 AD3d 569 [2012], lv denied 19 NY3d 970 [2012]; People v Sosa, 57 Misc 3d 129[A], 2017 NY Slip Op 51166[U] [App Term, 1st Dept 2017], lv denied 30 NY3d 1063 [2017]; People v Kasse, 40 Misc 3d 126[A], 2013 NY Slip Op 51022 [U] [App Term, 1st Dept 2013], affd 22 NY3d 1142 [2014]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 15, 2023









